
Ewing, C. J.
An appeal taken to the Court of Common Fleas of the county of Somerset, between these parties, was dismissed because the amount of the debt and costs for which the judgment was rendered was not inserted in the appeal bond. The recital is in these words : “ Whereas, the above bounden Mary Griffith, hath appealed from the judgment of James Taylor, esq. justice of the peace in and for the county of Somerset, rendered before the said justice, in a suit wherein she the said Mary Griffith was defendant, and the said Jacob Sciples was plaintiff, in a plea of debt, Now therefore,” ^c.
We are of opinion the recital in the bond is sufficiently ful!, explicit and certain. There is nothing in the statute regulating appeals, which either directly or by fair implication requires the Insertion of the numerical amount of the judgment; nor does practical convenience render it necessary. The possibility, suggested by the counsel of the appellee, that there may be two judgments, between the same parties, before the same justice, in the same style of action, is very remote, and when it actually exists cannot create any serious difficulty. In the form of an appeal bond given by Judge Pennington, in his treatise on the courts for the trial of small causes, the amount of the judgment is not set forth. Policy does not require, even if principle would permit, the imposition of stricter restraints on the review by appeal, than such as are clearly contemplated by the provisions of the statute. In. the case ex parte Ahord and others, 6 Cowen 585, the Supreme Court of New-York, held that an appeal bond should recite the amount; of the judgment of the justice. The ground of this decF *230sion however is a provision, not contained in am statute, which in the opinion of the court rendered such recital necessary.
Let a peremptory mandamus according to the agreement of the parties, be issued.
